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                                                                                                      E-FILED
                                                       Monday, 21 March, 2022 03:35:38 PM
                                                             Clerk, U.S. District Court, ILCD
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS

AARON O'NEAL, #N53022,                           )
                                                 )
               Plaintiff,                        )
                                                 )
                                       v.        )             No. 18-4063-SEM-TSH
                                                 )
MANUEL ROJAS, et al.,                            )
                                                 )
               Defendants.                       )

                            DEFENDANTS’ MOTIONS IN LIMINE

       NOW COME the Defendants, JOHN BALDWIN, STEPHANIE DORETHY, JOHN

FROST, STEVE GANS, MELISSA PELKER, and, MANUEL ROJAS, by and through their

attorney, Kwame Raoul, Attorney General of the State of Illinois, and hereby move for the

following pretrial orders, stating as follows:

                                         INTRODUCTION

       The Plaintiff, Aaron O’Neal, filed this action pursuant to 42 U.S.C. §1983 for alleged

violations of his rights guaranteed him by the United States Constitution. (Doc. 1). Plaintiff’s

claims relate to; (1) whether Defendant Rojas retaliated against Plaintiff, (2) whether all named

Defendants barred him from meatless meals on Friday during Lent, and (3) whether all named

Defendants granted inmates of other religions a religious diet, but not the Plaintiff.

       Defendants anticipate Plaintiff will attempt to introduce inadmissible evidence at trial and

hereby file the following motions in limine in an effort to facilitate an orderly process at trial.

I.     The Court Should Prohibit Plaintiff from Offering Evidence or Testimony, or
       Otherwise Suggesting, that the State of Illinois May Indemnify Defendants.

       The Seventh Circuit, as well as other federal circuits, has long held that evidence of

payments received from collateral sources is inadmissible on the issue of damages. See Lawson v.

Trowbridge, 153 F.3d 368, 379 (7th Cir. 1998) (citing Larez v. Holcomb, 16 F.3d 1513, 1518 (9th

Cir. 1994) (recognizing a long-standing rule that “evidence of insurance or other indemnification
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is not admissible on the issue of damages, and, should any such information reach the ears of the

jurors, the court should issue a curative instruction”) & Halladay v. Verschoor, 381 F.2d 100, 112

(8th Cir. 1967) (recognizing an exception to the collateral payments rule exists when insurance or

indemnification is a material issue in the case)).

       Pursuant to the invocation of their rights under the State Employee Indemnification Act (5

ILCS 350/0.01 et seq.), Defendants are represented by the Office of the Attorney General and

should be indemnified for any damages awarded pursuant to a final and unreversed judgment of

the Court, as well as for any court costs and attorney fees. See 5 ILCS 350/2(d). However,

indemnification is not material to any of the issues presented in this case and even the suggestion

of indemnification to the jury would result in substantial prejudice to Defendants. Accordingly,

the Court should preclude Plaintiff, and his witnesses, from offering evidence or testimony

disclosing, or otherwise suggesting, that State of Illinois may indemnify the Defendants in the

event Plaintiff receives a favorable jury verdict.

II.    The Court Should Prohibit Plaintiff from Offering Evidence or Testimony of Other
       Lawsuits Involving the Defendants.

       Defendants request the Court bar reference to or inquiries about other lawsuits involving

Defendants to be irrelevant, and even if relevant, the danger of unfair prejudice, misleading the

jury, and confusing the issues far outweigh the probative value of such evidence. Such testimony

would not be relevant under Federal Rule 401 and constitutes inadmissible character evidence

under Rule 404(b). See Gastineau v. Fleet Mortgage Corp., 137 F.3d 490, 494-95 (7th Cir. 1990).

Defendants work with a particularly litigious subset of the population. Allowing a plaintiff to

suggest that because Defendants have been sued in the course of their employment, theymistreated

Plaintiff in this instance is unfair and not authorized by the Federal Rules of Evidence.

III.   The Court Should Prohibit Plaintiff from Offering Evidence or Testimony of Any
       Misconduct, Reprimand, or Grievance issued against any Defendants.

       Defendants request the Court bar reference to any previous misconduct or inquiries
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regarding reprimands received by Defendants or grievances filed against Defendants to be

irrelevant, and even if relevant, the danger of unfair prejudice, misleading the jury, and confusing

the issues far outweigh the probative value of such evidence. Such testimony would not be relevant

under Federal Rule 401 and constitutes inadmissible character evidence under Rule 404(b).

       In Duran v. Town of Cicero, 653 F. 3d 632 (7th. Cir. 2011), plaintiffs brought a §1983

complaint against the town and multiple officers alleging the officers used excessive force, falsely

arrested them, deprived them of equal protection, and asserted state-law claims. Duran, 653 F. 3d

at 635. One of the defendants, Officer Vitalo, moved to prevent the introduction and reference to

prior misconduct complaints. Id. at 645. The district court granted the motion in limine. Id. During

Officer Vitalo’s testimony at trial, his attorney asked a series of questions that arguably opened

the door to the misconduct complaints. Id. Plaintiffs asked the judge to reconsider the motion in

limine in light of the line of questioning and testimony by Officer Vitalo. Id. The district court

judge again declined to allow the evidence stating “the danger of confusion and of unfair prejudice

to the other defendants would outweigh the probative value as to the defendant Vitalo.” Id. On

appeal, the Seventh Circuit affirmed the exclusion of this evidence. Id. The Seventh Circuit noted

that the district court has significant leeway when conducting an analysis under 404(b). Id. The

Court further stated that based upon the specific allegations of misconduct against Vitalo, “there

was potential for prejudicial ‘spillover’ effect on all the defendants. Id. Finally, the Court stated

that even though Vitalo arguably opened the door to the evidence, “the Rules of Evidence do not

simply evaporate when one party opens the door on an issue.” Id (quoting Manuel v. City of

Chicago, 335 F.3d 592, 596 (7th Cir. 2003)).

       In this case, allowing Plaintiff to suggest that because Defendants have received previous

misconduct, reprimands, or have had grievances filed against them, that theye mistreated Plaintiff

in this instance is not relevant, would be prejudicial, and is not authorized by the Federal Rules of

Evidence.
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IV.    The Court Should Prohibit Plaintiff from Offering Evidence or Testimony
       Referencing Any “Golden Rule” appeal.

       Defendants request the Court bar any “Golden Rule” appeal including any argument or

testimony that the jury place itself in Plaintiff’s position or that the damages be based on a scenario

whereby jurors hypothetically sustain injuries or damages similar to that purportedly sustained by

Plaintiff. Spray-Rite Serv. Corp. v. Monsanto Co., 684 F.2d 1226, 1246 (7th Cir. 1982). “A

‘Golden Rule’ appeal in which the jury is asked to put itself in the plaintiff’s position is universally

recognized as improper because it encourages the jury to depart from neutrality and to decide the

case on the basis of personal interest and bias rather than on the evidence.” United States v. Teslim,

869 F.2d 316, 328 (7th Cir. 1989) (internal quotations omitted); see also Tomao v. Abbott Labs.,

Inc., 2007 WL 141909 (N.D. Ill. Jan. 16, 2007) (Granting the defendant’s motion in limine

regarding “golden rule” appeal).

V. Plaintiff Should be Barred From Offering IDOC and Facility Directives, Regulation, and
Statutes at Trial.

       Defendants anticipate Plaintiff will argue or suggest that the Defendants violated IDOC

policies and procedures. The policies, directives, and statutes of the Illinois Department of

Corrections and Hill Correctional Center are irrelevant and inadmissible at trial.

       “When a party seeks to offer evidence through other exhibits, they must be . . . otherwise

made admissible in evidence.” Martz v. Union Labor Life Ins. Co., 757 F.2d 135, 138 (7th Cir.

1985). Irrelevant evidence is not admissible. Fed. R. Evid. 402. “Evidence is relevant if it has any

tendency to make the existence of any fact that is of consequence to the determination of the action

more probable or less probable than it would be without the evidence.” Fed. R. Evid. 401. Berry

v. Delaney, 28 F.3d 604, 607 (7th Cir. 1994). “To be relevant, evidence . . . must in some degree

advance the inquiry.” E.E.O.C. v. Indiana Bell Telephone Co., 256 F.3d 516, 533 (7th Cir. 2001)

(Flaum, C.J., concurring in part & dissenting in part)(quoting 1 J. Weinstein & M. Berger,

Weinstein's Federal Evidence 401.04[2] [b]).
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       Departmental rules, facility directives, and state statutes are not relevant because none of

them make the existence of any fact of consequence more or less probable. The facts of

consequence for the jury to decide are (1) whether Defendant Rojas retaliated against Plaintiff, (2)

whether all named Defendants barred him from meatless meals on Friday during Lent, and (3)

whether all named Defendants granted inmates of other religions a religious diet, but not the

Plaintiff. No departmental rule, facility directive, or statute could make any of the facts of

consequence more probable. In other words, Departmental rules, facility directives, and state

statutes do not make it any more or less likely that Plaintiff’s rights were violated. Nor do such

rules, directives, or statutes make it any more or less likely that Defendants did so intentionally or

had any personal involvement.

       In Thompson v. City of Chicago, 472 F.3d 444, 446 (7th Cir. 2006), the plaintiff’s decedent

died following a struggle with police officers. The plaintiff sued several Chicago Police officers,

alleging, among other things, excessive force in violation of the Fourth Amendment. Thompson,

472 F.3d at 446. The trial court granted the defendants pretrial motion in limine to exclude the

Chicago Police Department’s General Orders concerning the appropriate use of force as irrelevant

and substantially more prejudicial than probative. Thompson, 472 F.3d at 453. The Seventh

Circuit affirmed the exclusion of this evidence as irrelevant to whether the officers used reasonable

force, stating “the violation of police regulations or even state law is completely immaterial to the

question of whether a violation of the federal constitution has been established.” Thompson, 472

F.3d at 454. See also Whren v. United States, 517 U.S. 806, 815 (1996) (police manuals,

guidelines, or general orders are not reliable gauges of what is reasonable under the constitution);

Scott v. Edinburg, 346 F.3d 752, 760 (7th Cir. 2003) (1983 protects plaintiffs from constitutional

violations, not violations of state laws, departmental regulations, or police practices).

       In Edwards v. Staniec, 389 Fed. Appx. 523, 526 (7th Cir. 2010) (non-precedential

disposition), an inmate attempted to introduce prison regulations on use of restraints and corporal
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punishment to show that the officers knowingly violated these rules. The Seventh Circuit affirmed

the exclusion of this evidence, stating that “the relevant issue at trial was, as a matter of the federal

constitution’s ban on cruel and unusual punishment, the officers used force maliciously and

sadistically and not for the purpose of restoring order.” Edwards, 389 Fed. Appx. at 526. The

Court further stated, citing Thompson and Scott, that “[t]he state code provisions were not relevant

to this federal issue and therefore could have led to confusion of the relevant issues, a proposition

we have repeatedly affirmed in the context of excessive-force cases.” Edwards, 389 Fed. Appx.

at 526.

VI.       Plaintiff and his Witnesses Should be Barred from Testifying at Trial Regarding the
          Causation of any Medical or Mental Health Condition.

          Defendants anticipate that Plaintiff may testify or attempt to elicit inadmissible testimony

as to the causation of any alleged medical or mental health conditions. Specifically, Defendants

anticipate that Plaintiff will testify that any nominal “injury” allegedly sustained by Plaintiff

caused him lasting injuries, both physical and mental. Plaintiff is not a physician or psychiatrist

and, therefore, any uninformed opinions or lay accounts proffered by him regarding the causation

of any medical condition or mental health condition should be barred. See Fed. R. Evid. 701.

Expert testimony is necessary to explain the complex nature of any relationship between Plaintiff’s

alleged physical injuries and the causation of any medical or mental health condition. Under

Federal law, a non-expert is not permitted to give expert testimony. Fed. R. Evid. 701. A person

lacking any medical training is incompetent to testify to the causal relationship between an event

and a subsequent medical condition. Pearson v. Ramos, 237 F.3d 881, 886 (7th Cir. 2001).

Without medical knowledge, skill, experience, training and/or education, Plaintiff is not equipped

to render conclusions or opinions about the cause of his medical or mental health conditions.

VII.      Plaintiff Should be Barred from Offering Inadmissible Hearsay Statements of Any
          Medical or Mental Health Conditions.

          Plaintiff should be barred from offering testimony at trial as to the statements of any
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treating medical or mental health professional. The out-of-court statements made by a medical or

mental health professional not contained in admissible medical records and offered by the Plaintiff

are inadmissible hearsay. See Fed. R. Evid. 801, 802. No exception to the hearsay rules permits

such statements to be used as evidence. See Fed. R. Evid. 803, 804.

                                          CONCLUSION

       Accordingly, Defendants seek a pretrial order to preclude Plaintiff, his attorneys, and his

witnesses, from: (1) offering testimony or otherwise suggesting that the state of Illinois will

indemnify Defendants; (2) offering evidence or testimony of other lawsuits involving Defendants;

(3) offering evidence or testimony of any misconduct, reprimand, or grievance issued against

Defendants; (4) offering evidence or testimony referencing any “golden rule” appeal; (5) testifying

at trial regarding whether Defendants followed Illinois Department of Corrections Policies and

Procedures; (6) testifying at trial regarding the causation of any medical or mental health condition;

and (7) offering the inadmissible hearsay statements of any medical or mental health professionals;

       WHEREFORE, for the foregoing reasons, Defendants pray this honorable Court grant

Defendants’ Motions in Limine I–VI.

                                               Respectfully submitted,

                                               JOHN BALDWIN, STEPHANIE DORETHY,
                                               JOHN FROST, STEVE GANS, MELISSA
                                               PELKER, and, MANUEL ROJAS,

                                                      Defendants,

                                               KWAME RAOUL, Attorney General,
                                               State of Illinois

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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS

AARON O'NEAL, #N53022,                        )
                                              )
               Plaintiff,                     )
                                              )
                                       v.     )              No. 18-4063-SEM-TSH
                                              )
MANUEL ROJAS, et al.,                         )
                                              )
               Defendants.                    )

                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 21, 2022, the foregoing document, Defendants’ Motion in
Limine was electronically filed with the Clerk of the court using the CM/ECF system which will
send notification of such filing to the following:
               Reede Neutze                   aneutze2@illinois.edu
               Stephen Beemsterboer           smb9@illinois.edu

and I hereby certify that on the same date, I caused a copy of the foregoing document to be mailed
by United States Postal Service, to the following non-registered participant:

                                               NONE



                                              By: /s/ Maria D. Gray
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